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                       EXHIBIT 21
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1. ASSIGNMENT AND PROTECTIONS.
  1.1.        The Parties have agreed to the terms of an assignment and certain protections for
              Released Parties as set forth in this Attachment:

         1.1.1.      Satisfaction of Compensatory Damages. The Economic Class, Plaintiffs,
                     and all Economic Class Members agree and acknowledge that the
                     Settlement Payment(s), in addition to constituting consideration from the
                     Released Parties, also constitute full, complete, and total satisfaction of all
                     of their Compensatory Damages against the Transocean Parties and the
                     Halliburton Parties.

         1.1.2.      Protections for Released Parties. The Economic Class, Plaintiffs, and all
                     Economic Class Members promise, agree, acknowledge, represent, warrant,
                     and covenant as follows:

          1.1.2.1.    No Assignment of Economic Class’s, Plaintiffs’, or Economic Class
                      Members’ Claims or Reassignment of Assigned Claims. Neither the
                      Economic Class nor any Plaintiff or Economic Class Member shall assign
                      or reassign, or shall attempt to assign or reassign, to any person or entity
                      other than BP any rights or claims arising out of, due to, resulting from, or
                      relating in any way to, directly or indirectly, the Deepwater Horizon
                      Incident, including attempts to reassign the Assigned Claims. Any such
                      assignment or reassignment, or attempt to assign or reassign, to any person
                      or entity other than BP any rights or claims arising out of, due to, resulting
                      from, or relating in any way to, directly or indirectly, the Deepwater
                      Horizon Incident shall be void, invalid, and of no force and effect.

          1.1.2.2.    No Recovery of Additional Compensatory Damages. Neither the
                      Economic Class nor any Plaintiff or Economic Class Member shall accept
                      or attempt to recover, through insurance, reinsurance, indemnification,
                      contribution, subrogation, litigation, settlement, or otherwise, any
                      Compensatory Damages from the Transocean Parties and the Halliburton



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                 Parties, except from Assigned Claims subject to the terms and conditions
                 of Section 1.1.2.4. Nothing in this Section 1.1.2.2 shall impair or impact
                 rights to pursue Transocean and Halliburton for exemplary and punitive
                 damages reserved by the Economic Class and Economic Class Members
                 in Sections 3.6, 3.7, 10.2, and 10.3 of the Agreement and claimed as either
                 individuals or members of the Economic Class.

      1.1.2.3.   Non-Execution and Non-Collection for Compensatory Damages. In
                 the event that the Economic Class or any of the Plaintiffs or Economic
                 Class Members is or becomes the beneficiary of any judgment, decision,
                 award, or settlement arising out of, due to, resulting from, or relating in
                 any way to, directly or indirectly, the Deepwater Horizon Incident, the
                 Economic Class and/or such Plaintiffs and/or Economic Class Members
                 shall not accept, execute on, attempt to collect, or otherwise seek recovery
                 of any Compensatory Damages from the Transocean Parties or from the
                 Halliburton Parties, except from Assigned Claims subject to the terms and
                 conditions of Section 1.1.2.4. Nothing in this Section 1.1.2.3 shall impair
                 or impact rights to pursue Transocean and Halliburton for exemplary and
                 punitive damages reserved by the Economic Class and Economic Class
                 Members in Sections 3.6, 3.7, 10.2, and 10.3 of the Agreement and
                 claimed as either individuals or members of the Economic Class.

      1.1.2.4.   Conditional Collection of Damages. In the event that the Economic
                 Class or any of the Plaintiffs and/or Economic Class Members is or
                 becomes the beneficiary of any judgment, decision, award, or settlement
                 arising out of, due to, resulting from, or relating in any way to, directly or
                 indirectly, the Deepwater Horizon Incident, including from Assigned
                 Claims and/or Expressly Reserved Claims, the Economic Class and/or
                 such Plaintiffs and/or Economic Class Members shall not accept, execute
                 on, attempt to collect, or otherwise seek recovery of any Damages, to the
                 extent that any Other Party is seeking or may seek to recover such
                 Damages from any Released Party, whether through indemnity,
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                 contribution, subrogation, assignment, or any other theory of recovery, by
                 contract, pursuant to applicable law or regulation, or otherwise, directly or
                 indirectly. The Economic Class, Plaintiffs, and/or Economic Class
                 Members may, however, accept, execute on, attempt to collect, or
                 otherwise seek recovery of Damages if and when a court or tribunal of
                 competent jurisdiction has finally determined that Other Parties cannot
                 recover such Damages whether through indemnity, contribution,
                 subrogation, assignment or any other theory of recovery, by contract,
                 pursuant to applicable law or regulation, or otherwise, directly or
                 indirectly, from any Released Party For purposes of this Section 1.1.2.4,
                 “finally determined” shall mean the conclusion of any applicable appeals
                 or other rights to seek review by certiorari or otherwise, or the lapse of any
                 and all such rights, or the lapse of any and all applicable limitations or
                 repose periods.

      1.1.2.5.   Conditions on Future Settlements. The Economic Class, Plaintiffs,
                 and/or Economic Class Members may settle or compromise any rights,
                 demands, or claims with the Transocean Parties, the Halliburton Parties,
                 and/or any Other Parties arising out of, due to, resulting from, or relating
                 in any way to, directly or indirectly, the Deepwater Horizon Incident if but
                 only if the Transocean Parties, the Halliburton Parties, and/or such Other
                 Party, as the case may be, agrees as part of that settlement or compromise
                 to a full and final release of, dismissal of, and covenant not to sue for any
                 and all rights to recover, directly or indirectly, from the Released Parties
                 (whether through indemnity, contribution, subrogation, assignment or any
                 other theory of recovery, by contract, pursuant to applicable law or
                 regulation, or otherwise) for any Damages or other relief or consideration
                 provided under or relating to such settlement or compromise (whether the
                 settlement is of a class, of individual claims, or otherwise), including from
                 Expressly Reserved Claims, and further represents and warrants that it has
                 not assigned and will not assign any rights to recover for such Damages or
                 other relief or consideration (whether through indemnity, contribution,
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                 subrogation, or otherwise). As part of this commitment and without
                 limitation, the Economic Class, Plaintiffs, and/or Economic Class
                 Members shall not settle or compromise with the Transocean Parties, the
                 Halliburton Parties, and/or any Other Parties on terms that might allow
                 any insurers, reinsurers, or indemnitors thereof to claim against any
                 Released Parties for indemnification, subrogation, contribution,
                 assignment or under any other theory of recovery. The Economic Class,
                 Plaintiffs, and Economic Class Members agree that, before any such
                 settlement or compromise is executed, BP shall have the right to approve
                 language in any such settlement or compromise memorializing the
                 representation and warranty set forth in this Section 1.1.2.5, which
                 approval shall not be unreasonably withheld.

      1.1.2.6.   Indemnity to Released Parties. Notwithstanding any provision in the
                 Agreement to the contrary, if any Other Party recovers or seeks to recover
                 from any Released Party (under any theory of recovery, including
                 indemnity, contribution, or subrogation, and including from Assigned
                 Claims and/or Expressly Reserved Claims) any Damages either (a) paid to
                 a particular Plaintiff or Economic Class Member for which a release was
                 given to BP through the Settlement or in an Individual Release, or (b) by,
                 through, under, or on account of such Plaintiff or Economic Class Member
                 for which a release was given to BP through the Settlement or in an
                 Individual Release; then that Plaintiff or Economic Class Member shall
                 indemnify (but not defend) the Released Parties, but only to the extent of
                 Settlement Payment(s) received by that particular Plaintiff or Economic
                 Class Member (by way of example, if a particular Plaintiff has received
                 $100.00 in Settlement Payment(s), its indemnity obligation would be
                 capped at this amount). This indemnity obligation owed by a Plaintiff or
                 Economic Class Member who has given a release to BP includes any and
                 all claims made or other actions taken by that Economic Class Member in
                 breach of Sections 1.1.2.1 through 1.1.2.5.

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      1.1.2.7.    Notice Regarding Indemnity. Plaintiffs and Economic Class Members
                  expressly acknowledge that, to the fullest extent allowed by law, the
                  indemnity obligations contained in Section 1.1.2.6 apply to claims against
                  Released Parties predicated on negligence, gross negligence, willful
                  misconduct, strict liability, intentional torts, liability based on contractual
                  indemnity, and any and all other theories of liability, and any and all
                  awards of attorneys’ fees or other costs or expenses The Plaintiffs and
                  Economic Class Members acknowledge that this indemnity is for conduct
                  occurring before the date of the Agreement and therefore is not affected by
                  public policies or other law prohibiting agreements to indemnify in
                  advance of certain conduct. THE PLAINTIFFS AND ECONOMIC
                  CLASS MEMBERS ACKNOWLEDGE THAT THIS SECTION
                  1.1.2.7 COMPLIES WITH ANY REQUIREMENT TO EXPRESSLY
                  STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED
                  AND THAT THIS SECTION 1.1.2.7 IS CONSPICUOUS AND
                  AFFORDS FAIR AND ADEQUATE NOTICE.

      1.1.2.8.    No Set-off. Should the Economic Class, Plaintiffs, or the Economic Class
                  Members succeed in recovering monies from Transocean or Halliburton,
                  BP agrees that it would not be entitled to set-off such recovery against its
                  obligation to make Settlement Payment(s). Notwithstanding this Section
                  1.1.2.8, however, the Economic Class, Plaintiffs, and Economic Class
                  Members acknowledge and agree that this “no set-off” term does not
                  apply to any right BP may have pursuant to the Agreement to receive a
                  credit for monies received by Economic Class Members.

     1.1.3.      Assignment. To the fullest extent allowed by law and applicable contracts,
                 and subject to Sections 1.1.2, 1.1.4, and 1.1.5, upon Preliminary Approval,
                 and subject to occurrence of the Effective Date as a condition subsequent,
                 BP assigns to the Economic Class, only as a juridical entity and not to
                 Economic Class Members individually, the following claims and causes of
                 action against Transocean and Halliburton (but no other party) arising out
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                 of, due to, resulting from, or relating in any way to, directly or indirectly, to
                 the Deepwater Horizon Incident, on the terms and conditions set forth
                 herein:

      1.1.3.1.    All damages related to the repair, replacement, and/or re-drilling of the
                  MC-252 Well;

      1.1.3.2.    All economic damages for the loss of the MC-252 Well, including lost
                  profits, lost hydrocarbons, and diminution in value of the leasehold;

      1.1.3.3.    All costs that BP incurred to control the MC-252 Well and/or to respond
                  to, contain, and/or clean up the DWH Spill;

      1.1.3.4.    All rights to indemnity, contribution, or subrogation for claims paid by BP
                  and/or the GCCF on or before the entry of the Preliminary Approval
                  Order, subject, however, to (a) BP’s retention of its right to pursue the
                  payments identified in Section 1.1.4.2, which are expressly retained, and
                  (b) BP’s retention of its right to recover from Transocean and Halliburton
                  for the payments identified in Section 1.1.4.2;

      1.1.3.5.    All claims or causes of action to pursue reimbursement of Settlement
                  Payment(s) under theories of indemnification, contribution, subrogation,
                  or any other theory of recovery;

      1.1.3.6.      ll punitive exemplary, multiple, or non-compensatory damages;

      1.1.3.7.    All claims and causes of action to recover the damages, losses, costs, fees,
                  and amounts set forth in Sections 1.1.3.1-1.1 3 6 including BP’s claims
                  for breach of contract, unseaworthiness, negligence, gross negligence,
                  willful misconduct, fraud, fraudulent concealment, and intentional torts
                  and including BP’s claims in the BP Parties’ Counter-Complaint, Cross-
                  Complaint And Third Party Complaint Against Transocean And Claim In
                  Limitation, Docket No. 2074 in Case 2:10-md-02179-CJB-SS, and BP’s
                  Cross-Complaint And Third-Party Complaint Against Halliburton, Docket

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                  No. 2082 in Case 2:10-md-02179-CJB-SS.

      1.1.3.8.    BP agrees to cooperate, at its expense, in discovery with the Economic
                  Class in the prosecution of the Assigned Claims, through the provision of
                  evidence and witnesses, and the Economic Class agrees to exercise
                  reasonable restraint in their requests for assistance. The Economic Class
                  pledges to use its best efforts to avoid having to call BP employees as
                  witnesses in court for a trial or other proceedings pursuing Assigned
                  Claims.

     1.1.4.      All Defenses and Other Claims Retained.        ll of BP’s claims not
                 expressly assigned by Section 1.1.3 are hereby retained.

      1.1.4.1.    Notwithstanding Section 1.1.3 and to avoid doubt, BP does not assign any
                  claim for indemnification or contribution or subrogation of amounts it
                  might pay for fines, penalties, or sanctions, including under the Clean
                  Water Act or other federal or state laws. Nothing in this provision shall be
                  construed to indicate that BP believes such claims are valid, and BP
                  reserves all legal arguments against such claims.

      1.1.4.2.    Notwithstanding Section 1.1.3 and to avoid doubt, BP does not assign, and
                  in fact retains, any claim for indemnification, contribution, subrogation, or
                  insurance coverage for amounts paid by the GCCF and/or BP on or before
                  the entry of the Preliminary Approval Order to settle or resolve any
                  personal injury, bodily injury, and/or wrongful death claims of the
                  employees of Transocean or Transocean’s contractors who were on board
                  the Deepwater Horizon on April 20, 2010, whether brought by such
                  employees or their representatives, including for amounts the GCCF paid
                  for any “Employee Settlement” and to resolve “Employee Claims” as
                  defined and provided for in the Agreement Relating to Payment of
                  Transocean Employee Settlement Claims and as approved by Court order
                  entered on December 13, 2011 (Rec. Doc. 4893) (hereafter referred to as
                  “Insurance Proceeds for Transocean Personnel”). BP warrants that it has
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                 not received any Insurance Proceeds for Transocean Personnel to date.
                 This retention is subject to the terms of Section 5.14 of the Agreement.

      1.1.4.3.   Notwithstanding Section 1.1.3 and to avoid doubt, the Economic Class,
                 Plaintiffs, and Economic Class Members acknowledge and agree that BP
                 retains its right to receive a credit for monies received by the Economic
                 Class, Plaintiffs, and/or Economic Class Members pursuant to the terms of
                 the Agreement.

      1.1.4.4.   Further, notwithstanding any other provision of the Agreement, BP hereby
                 retains all defenses, regardless of how designated, against all claims and
                 causes of action of the Transocean Parties and/or the Halliburton Parties
                 against any of the Released Parties, including all defenses against the
                 Transocean Parties’ and the Halliburton Parties’ claims for contractual
                 indemnification against BP which shall include BP’s rights to allege and
                 argue breach of contract, gross negligence, willful misconduct, fraud,
                 and/or intentional torts as defenses to contractual indemnification and to
                 seek or oppose reconsideration, appeal, or other review of any decisions
                 by courts or arbitrators regarding contractual indemnification between BP
                 and the Transocean Parties and/or the Halliburton Parties, including (a) the
                 Order and Reasons as to Transocean and BP’s Cross-Motions for Partial
                 Summary Judgment Regarding Indemnity, Docket No. 5446 in Case 2:10-
                 md-02179-CJB-SS and (b) the Order and Reasons as to Halliburton’s and
                 BP’s Cross-Motions for Partial Summary Judgment Regarding Indemnity,
                 Docket No. 5493 in Case 2:10-md-02179-CJB-SS.

      1.1.4.5.   Neither the provisions regarding Assigned Claims, nor any other provision
                 in the Agreement shall limit BP’s ability to take any action to defend
                 itself in any litigation or arbitration.

      1.1.4.6.   No Warranties for Assigned Claims. BP does not make, and expressly
                 disclaims, any representations or warranties regarding the Assigned
                 Claims, including but not limited to representations and warranties
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                     regarding the validity, value, enforceability, defenses to, or assignability
                     of the Assigned Claims. The invalidity, illegality, or unenforceability of
                     the assignment of any or all Assigned Claims shall not operate to
                     invalidate the Agreement or the Individual Releases, and shall not affect
                     the validity or enforceability of any other provision, or portion thereof, of
                     the Agreement or the Individual Releases. Should the Effective Date
                     occur but part or all of the assignment be held invalid, BP acknowledges
                     and agrees that it will not seek to pursue such Assigned Claims that were
                     the subject of the invalidated assignment.

         1.1.5.    Retention of Assigned Claims. The occurrence of the Effective Date is a
                   condition subsequent of the assignment of the ssigned Claims If the
                   Effective Date does not occur for any reason the ssignment made in
                   Section 1.1 3 shall become null and void and the Assigned Claims shall be
                   retained by BP If any of the Assigned Claims have been liquidated by the
                   Economic Class through judgment or settlement with Transocean and/or
                   Halliburton, such funds shall not be disbursed until the Effective Date has
                   occurred and no compromise, release, or other impairment of the Assigned
                   Claims shall become operative until the Effective Date.      ny attempt to
                   release, compromise or otherwise impair the Assigned Claims shall not
                   become operative until the Effective Date, and any attempt to release,
                   compromise, or otherwise impair the Assigned Claims with an operative
                   date before the Effective Date shall be null and void.

2. DEFINITIONS.

  2.1.        The capitalized terms used in this Attachment shall have the same definitions as
              in the Agreement unless defined in this Attachment. In the event of any conflict,
              the definitions in this Attachment shall prevail over any definitions used in the
              Agreement for purposes of applying the terms of this Attachment.

  2.2.        Agreement shall mean the Economic and Property Damages Settlement
              Agreement, including all of its attachments and exhibits.

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 2.3.     Assigned Claims shall mean the claims defined in Section 1.1.3, excluding the
          Retained Claims defined in Section 1.1.4.

 2.4.     Compensatory Damages shall mean any and all forms of damages, known or
          unknown, intended to or having the effect of satisfying, compensating, or
          reimbursing the Economic Class’s, Plaintiffs’ and or Economic Class Members’
          claims for actual economic or pecuniary costs, expenses, damages, liability, or
          other losses or injuries arising out of, due to, resulting from, or relating in any
          way to, directly or indirectly, the Deepwater Horizon Incident, regardless of what
          such damages are designated, called or labeled Compensatory Damages do not
          include and may not be interpreted to have any overlap with punitive, exemplary
          multiple or non-compensatory damages. Bodily Injury Claims (including
          wrongful death) are not included in Compensatory Damages. Claims of BP
          shareholders in any derivative or direct action solely in their capacity as BP
          shareholders are not included in Compensatory Damages The Parties
          acknowledge and agree that the term Compensatory Damages as defined and used
          herein does not limit the amounts to be used for the calculation of punitive or
          other non-compensatory damages in any current or future litigation pursued by
          the Economic Class, Plaintiffs, and/or Economic Class Members. Nothing herein
          shall be deemed to limit the right of an Economic Class Member to pursue against
          BP Moratoria Losses or other claims expressly reserved under Section 3 of the
          Agreement.

 2.5.     Damages shall mean all forms of damages defined as broadly as possible without
          exception, including losses, costs, expenses, taxes, requests, royalties, rents, fees,
          profits, profit shares, earning capacity, loss of subsistence, damages to real or
          personal property, diminution in property value, punitive damages, exemplary
          damages, multiple damages, non-compensatory damages, Compensatory
          Damages, economic damages, injuries, liens, remedies, debts, claims, causes of
          action, or liabilities.




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 2.6.     Halliburton shall mean Halliburton Energy Services, Inc. and all and any of its
          Affiliates, other than any Natural Person or Entity that is also an Affiliate of any
          of the Released Parties as of April 16, 2012.

 2.7.     Halliburton Parties shall mean Halliburton (including all persons, entities,
          subsidiaries, divisions and business units comprised thereby); each of
          Halliburton’s respective past present and future directors officers employees
          general or limited partners, members, joint venturers, and shareholders, and their
          past, present and future spouses, heirs, beneficiaries, estates, executors,
          administrators, personal representatives, attorneys, agents, trustees, insurers,
          reinsurers, predecessors, successors, indemnitees, assigns, Affiliates; any natural,
          legal or juridical person or entity acting on behalf of or having liability in respect
          of Halliburton, in their respective capacities as such; and the federal Oil Spill
          Liability Trust Fund and any state or local fund, and each of their respective
          Affiliates including their officers, directors, shareholders, employees, and agents.

 2.8.     Other Party shall mean every person, entity, or party other than the Released
          Parties.

 2.9.     Retained Claims shall mean the claims retained by BP in Section 1.1.4.

 2.10.    Transocean shall mean Transocean Ltd., Transocean, Inc., Transocean Offshore
          Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC,
          and Triton Asset Leasing GmbH and all and any of their Affiliates, other than any
          Natural Person or Entity that is also an Affiliate any of the Released Parties as of
          April 16, 2012.

 2.11.    Transocean Parties shall mean Transocean (including all persons, entities,
          subsidiaries, divisions and business units comprised thereby); each of
          Transocean’s respective past, present and future directors, officers, employees,
          general or limited partners, members, joint venturers, and shareholders, and their
          past, present and future spouses, heirs, beneficiaries, estates, executors,
          administrators, personal representatives, attorneys, agents, trustees, insurers,

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          reinsurers, predecessors, successors, indemnitees, assigns, Affiliates; any natural,
          legal or juridical person or entity acting on behalf of or having liability in respect
          of Transocean, in their respective capacities as such; and the federal Oil Spill
          Liability Trust Fund and any state or local fund, and each of their respective
          Affiliates including their officers, directors, shareholders, employees, and agents.




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